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 1   ERIN J. RADEKIN
     Attorney at Law - SBN 214964
 2   428 J Street, Suite 350
     Sacramento, California 95814
 3   Telephone: (916) 446-3331
     Facsimile: (916) 447-2988
 4
     Attorney for Defendant
 5   ANGELA SHAVLOVSKY

 6

 7                           IN THE UNITED STATES DISTRICT COURT

 8                          FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,               )    2:11-CR-00427 TLN
                                             )
11                              Plaintiff,   )    STIPULATION AND ORDER
                                             )    TO CONTINUE STATUS CONFERENCE
12   v.                                      )
                                             )
13                                           )
     ANGELA SHAVLOVSKY,                      )
14                                           )
                             Defendant.      )
15   __________________________________      )

16
                                         STIPULATION
17
           Plaintiff, United States of America, by and through its counsel,
18
     Assistant United States Attorney Jill Thomas, and defendant, Angela
19
     Shavlovsky, by and through her counsel, Erin J. Radekin, agree and stipulate
20
     to vacate the date set for status conference, November 6, 2014 at 9:30 a.m.,
21
     in the above-captioned matter, and to continue the status conference to
22
     December 18, 2014 at 9:30 a.m. in the courtroom of the Honorable Troy L.
23
     Nunley.
24
           The reason for this request is that additional time is needed by Ms.
25
     Radekin to complete review of discovery, for investigation, and for other
26
     defense preparation.     Ms. Radekin was appointed in this case on May 13, 2014.
27
     This case involves voluminous discovery.    In the last 30 days the government
28



                                     Stipulation and Order - 1
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 1   has provided an approximately 400 pages of additional discovery, so that

 2   discovery now ends at page number 64290.     The government has also notified

 3   the defense that four boxes of additional documents are available for

 4   inspection and copying upon appointment.     The Court is advised that Ms.

 5   Thomas concurs with this request and has authorized Ms. Radekin to sign this

 6   stipulation on her behalf.

 7         The parties further agree and stipulate that the time period from the

 8   filing of this stipulation until December 18, 2014 should be excluded in

 9   computing time for commencement of trial under the Speedy Trial Act, based

10   upon the interest of justice under 18 U.S.C. § 3161(h)(7)(B)(iv), and Local

11   Code T4, to allow reasonable time necessary for effective defense

12   preparation.   It is further agreed and stipulated that the ends of justice

13   served in granting the request outweigh the best interests of the public and

14   the defendant in a speedy trial.

15         Accordingly, the parties respectfully request the Court adopt this

16   proposed stipulation.

17   IT IS SO STIPULATED

18   Dated: October 30, 2014                      BENJAMIN WAGNER
                                                  United States Attorney
19
                                          By:      /s/ Jill Thomas
20                                                JILL THOMAS
                                                  Assistant United States Attorney
21

22   Dated: October 30, 2014                       /s/ Erin J. Radekin
                                                  ERIN J. RADEKIN
23                                                Attorney for Defendant
                                                  ANGELA SHAVLOVKSY
24

25
                                          ORDER
26
           For the reasons set forth in the accompanying stipulation and
27
     declaration of counsel, the status conference date of November 6, 2014 at
28



                                   Stipulation and Order - 2
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 1   9:30 a.m. is VACATED and the above-captioned matter is set for status

 2   conference on December 18, 2014 at 9:30 a.m.    The Court finds excludable time

 3   in this matter through December 18, 2014 under 18 U.S.C. § 3161(h)(7)(B)(iv)

 4   and Local Code T4, to allow reasonable time necessary for effective defense

 5   preparation.   For the reasons stipulated by the parties, the Court finds that

 6   the interest of justice served by granting the request outweigh the best

 7   interests of the public and the defendant in a speedy trial. 18 U.S.C. §§

 8   3161(h)(7)(A), (h)(7)(B)(iv).

 9   IT IS SO ORDERED.

10   Dated:   November 4, 2014

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15                               Troy L. Nunley
                                 United States District Judge
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                                     Stipulation and Order - 3
